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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

JUDGMENT IN A cIvIL cAsE 0.5`40 <9)~ §/",
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JOHN ALLEN HESSMER,

Plaintiff,

 

VS. NO. 1:04-CV-1128-T
VIRGINIA LEWIS,

Defendant(s).

[X] DECISION BY THE COURT. This action came to consideration
before the Court; the issues having been considered and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that in compliance with the Order
entered in the above styled matter on August 16, 2005, this
action is hereby DISMISSED; if is further CERTIFIED that any
appeal by plaintiff is not taken in good faith.

,AU»M

J ES D. TODD
TED STATES DISTRICT JUDGE

APPROVED:

THOMAS M. GOULD] CLERK

C»;>b/tr)i

DEPUTY CLERK

This document entered on the docket sheet ln compliance /_

with aura 5a and,or_ 19 (a) FHCP on 03 |Q 419 @

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:04-CV-01128 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

John Allen Hessmer
STSRCF-PIKEVILLE
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Route 4, BoX 600
Pikeville, TN 37367

Honorable J ames Todd
US DISTRICT COURT

